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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                            CASE NO.

 UNITED STATES OF AMERICA,

        Plaintiff,

        vs.

 JON P. RUGGLES,

        Defendant,
 __________________________________/

                                          COMPLAINT

        The United States of America, by and through the undersigned Assistant United States

 Attorney, hereby files its Complaint against the Defendant Jon P. Ruggles, and in support of its

 Complaint states as follows:

        1.      This Court has jurisdiction of this action pursuant to 18 U.S.C. §§ 1331, 1337,

 1345, 1355, and 7 U.S.C. § 9a.

        2.      The Defendant Jon P. Ruggles is an individual residing at 2340 N.W. 41st Street,

 Boca Raton, FL 33431. Venue is proper in the Southern District of Florida pursuant to 28 U.S.C.

 § 1391(b).

        3.      On September 29, 2016, the U.S. Commodity Futures Trading Commission

 (“CFTC”) issued an Order in In the Matter of: Jon P. Ruggles, CFTC Docket No. 16-34, ordering

 the Defendant Jon P. Ruggles to pay a civil monetary penalty (CMP) in the amount of

 $1,750,000.00 and disgorgement in the amount of $3,501,306. The Order further provided that

 Defendant Jon P. Ruggles pay post-judgment interest at an annual rate of 0.60%, as determined
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 using the Treasury Bill rate pursuant to 28 U.S.C. § 1961. A true and correct copy of the CFTC

 Order is attached hereto and labeled Exhibit A.

        4.      To date, the Defendant has paid $1,471,261, which reduced the disgorgement

 obligation to $2,030,045. As of November 4, 2020, pursuant to 7 U.S.C. § 9a, Defendant Jon P.

 Ruggles is obligated to pay a CMP and disgorgement amounting to $3,875,270.56. A true and

 accurate calculation of amounts owed is set forth in an Updated Certificate of Indebtedness,

 which is attached hereto and labeled Exhibit B.

        5.      On November 9, 2020, counsel for the United States mailed the Defendant a

 demand letter stating the amounts owed and advising Defendant that unless he paid the amounts

 owed within ten days, the United States intended to file a lawsuit to recover the total amount due.

 A true and correct copy of the demand letter is attached hereto as Exhibit C.

        6.      As of the date of this Complaint, despite appropriate and timely demand,

 Defendant has failed to pay the balance owed.

        WHEREFORE, Plaintiff, the United States of America demands judgment against

 Defendant Jon P. Ruggles in the amount of $3,875,270.56 ($3,780,045.00 principal and

 $95,225.56 interest accrued through November 4, 2020), and interest to accrue at the annual rate

 of 0.60% from and after November 4, 2020 to the date of judgment. Post-judgment interest shall

 accrue at the legal rate pursuant to 28 U.S.C. § 1961(a) and shall be computed daily and

 compounded annually until paid in full.
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                                          Respectfully submitted,

                                          ARIANA FAJARDO ORSHAN
                                          UNITED STATES ATTORNEY

                                          By: ________________________
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